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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

Civil Action No.:

JONATHAN FLORES,

               Plaintiff,

v.

INTEGRITY FINANCIAL PARTNERS, INC., a Kansas corporation,

              Defendant.


                               COMPLAINT AND JURY DEMAND


                                         JURISDICTION

1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

       Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                             VENUE

3.     Venue is proper in this Judicial District.

4.     The acts and transactions alleged herein occurred in this Judicial District.

5.     The Plaintiff resides in this Judicial District.

6.     The Defendant transacts business in this Judicial District.

                                            PARTIES

7.     Plaintiff Jonathan Flores is a natural person.

8.     The Plaintiff resides in the City of Aurora, County of Arapahoe, State of Colorado.
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9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

11.   Defendant Integrity Financial Partners, Inc. is a Kansas corporation operating from

      an address at 4370 W. 109th Street, Suite 100, Overland Park, Kansas, 66211.

12.   The Defendant’s registered agent in the state of Colorado is Colorado Manager,

      Inc., 80 Garden Center, Suite 3, Broomfield, Colorado, 80020.

13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

14.   The Defendant is licensed as a collection agency by the state of Colorado.

15.   The principal purpose of the Defendant is the collection of debts using the mails

      and telephone.

16.   The Defendant regularly attempts to collect debts alleged to be due another.

17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

      owed or due or asserted to be owed or due another that arose out of transactions in

      which the money, property or services which are the subject of the transactions are

      primarily for personal, family or household purposes.

                              FACTUAL ALLEGATIONS

18.   Sometime before 2012 the Plaintiff allegedly incurred a financial obligation that

      was primarily for personal, family or household purposes namely an amount due

      and owing on personal account owed to JPMorgan Chase Bank N.A. (hereinafter

      the “Account”).

19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

20.   The Account went into default with the JPMorgan Chase Bank N.A..



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21.   After the Account went into default the Account was placed or otherwise

      transferred to the Defendant for collection.

22.   The Plaintiff disputes the Account.

23.   The Plaintiff requests that the Defendant cease all further communication on the

      Account.

24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

      mentioned herein.

25.   The Defendant acted at all times mentioned herein through its employee(s).

26.   In the year prior to the filing of the instant action the Defendant and / or

      representative(s), employee(s) and / or agent(s) of the Defendant made

      telephone call(s) to the Plaintiff.

27.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

      and / or representative(s), employee(s) and / or agent(s) of the Defendant in

      response to the telephone call(s).

28.   The Defendant’s purpose for these telephone call(s) was to attempt to collect the

      Account.

29.   The telephone call(s) each individually conveyed information regarding the

      Account directly or indirectly to the Plaintiff.

30.   The telephone call(s) each individually constituted a “communication” as defined

      by FDCPA § 1692a(2).




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31.   The only reason that the Defendant and / or representative(s), employee(s) and /

      or agent(s) of the Defendant made telephone call(s) to the Plaintiff was to

      attempt to collect the Account.

32.   The only reason that the Defendant and / or representative(s), employee(s) and /

      or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

      to attempt to collect the Account.

33.   The only reason that the Defendant and / or representative(s), employee(s) and /

      or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

      attempt to collect the Account.

34.   During the communication(s) the Defendant and / or representative(s),

      employee(s) and / or agent(s) of the Defendant while attempting to collect the

      Account represented to the Plaintiff that the Account he had to pay the Account

      to get the Account out of Chex Systems and that the Account will be Chex

      Systems for 7 to 10 years.

35.   The Defendant’s representations stated in paragraph 34 were false and were

      false representations in connection with the collection of a debt, the Account.

36.   During the communication(s) the Defendant and / or representative(s),

      employee(s) and / or agent(s) of the Defendant while attempting to collect the

      Account represented to the Plaintiff that he was past the timeframe to dispute the

      Account, that he needed to have a reason to dispute the Account and that his

      dispute of the Account had to be in writing to the Defendant.




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37.   The Defendant’s representations stated in paragraph 36 were false and were

      false representations in connection with the collection of a debt, the Account.

38.   The Plaintiff called the Defendant on May 9, 2012 to discuss the Account and to

      dispute the Account.

39.   The Plaintiff and the Defendant had a telephone conversation regarding the

      Account on May 9, 2012.

40.   During the telephone conversation between the Plaintiff and the Defendant

      regarding the Account on May 9, 2012 the Defendant and / or representative(s),

      employee(s) and / or agent(s) of the Defendant while attempting to collect the

      Account represented to the Plaintiff that he had to pay the Account to get the

      Account out of Chex Systems and that the Account will be Chex Systems for 7 to

      10 years.

41.   The Defendant’s representations stated in paragraph 40 were false and were

      false representations in connection with the collection of a debt, the Account.

42.   During the telephone conversation between the Plaintiff and the Defendant

      regarding the Account on May 9, 2012 the Defendant and / or representative(s),

      employee(s) and / or agent(s) of the Defendant while attempting to collect the

      Account represented to the Plaintiff that he was past the timeframe to dispute,

      that he needed to have a reason to dispute the Account and that his dispute of

      the Account had to be in writing.

43.   The Defendant’s representations stated in paragraph 42 were false and were

      false representations in connection with the collection of a debt, the Account.



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44.   Upon information and belief the Defendant made an audio recording and/or audio

      recording(s) of the telephone conversation(s) it had with the Plaintiff on May 9,

      2012.

45.   Upon information and belief the Defendant has a copy or copies of the audio

      recording(s) of the telephone conversation(s) it had with the Plaintiff on May 9,

      2012.

46.   Upon information and belief the Defendant kept written documentation and / or

      computer record(s) that document telephone call(s) to the Plaintiff on the Account

      in the year prior to the filing of the instant action.

47.   Upon information and belief the Defendant kept written documentation and / or

      computer record(s) that document telephone call(s) from the Plaintiff to the

      Defendant on the Account in the year prior to the filing of the instant action.

48.   Upon information and belief the Defendant made audio recording(s) of some of

      its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

      of the instant action.

49.   Upon information and belief the Defendant made audio recording(s) of all of its

      telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing of

      the instant action.

50.   Upon information and belief the Defendant has a copy or copies of the audio

      recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

      the year prior to the filing of the instant action.

51.   Upon information and belief the Defendant has a copy or copies of the



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      audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

      in the year prior to the filing of the instant action.

52.   Upon information and belief in the time between when it received this Complaint

      and Jury Demand and when a Answer to this Complaint and Jury Demand was

      filed on its behalf with the Court the Defendant made an inquiry and/or

      investigation as to whether it had any audio recording(s) of any telephone

      conversation(s) between the Defendant and the Plaintiff including the telephone

      conversation(s) on May 9, 2012.

53.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

      that it had of telephone conversation(s) between the Defendant and the Plaintiff

      including the telephone conversation(s) on May 9, 2012 to the attorney and/or

      the law firm who employs the attorney who is filing the Answer to this Complaint

      and Jury Demand on behalf of the Defendant.

54.   Upon information and belief the Defendant’s copies of the audio recording(s) of

      its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

      of the instant action substantiate the Plaintiff’s allegations in this action.

55.   The Defendant and its representative(s), employee(s) and / or agent(s)

      statement(s) and action(s) constitute false or misleading representation(s) or

      mean(s) and violate FDCPA 1692e preface, e(2)(A), e(8) and e(10).

56.   The Defendant and its representative(s), employee(s) and / or agent(s)

      statement(s) and action(s) constitute unfair or unconscionable means to collect

      or attempt to collect a debt and violate FDCPA 1692f preface.



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57.   “The Act is a strict liability statute; violations of the Act do not need to be

      intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

      F.Supp.2d 836, 840 (D.Az. 2011).

58.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only demonstrate

      “one violation of its provisions” to be entitled to a favorable judgment.” Doshay v.

      Global Credit and Collection Corporation, 796 F.Supp.2d 1301, 1304 (D.Colo.

      2011).

59.   As a consequence of the Defendant’s collection activities and

      communication(s), the Plaintiff seeks damages pursuant to FDCPA

      1692k(a).

                                 RESPONDEAT SUPERIOR

60.   The representative(s) and / or collector(s) at the Defendant were employee(s) of

      the Defendant at all times mentioned herein.

61.   The representative(s) and / or collector(s) at the Defendant were agent(s) of the

      Defendant at all times mentioned herein.

62.   The representative(s) and / or collector(s) at the Defendant were acting within the

      course of their employment at all times mentioned herein.

63.   The representative(s) and / or collector(s) at the Defendant were acting within the

      scope of their employment at all times mentioned herein.

64.   The representative(s) and / or collector(s) at the Defendant were under the direct

      supervision of the Defendant at all times mentioned herein.




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65.    The representative(s) and / or collector(s) at the Defendant were under the direct

       control of the Defendant at all times mentioned herein.

66.    The actions of the representative(s) and / or collector(s) at the Defendant are

       imputed to their employer, the Defendant.

67.    As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

       damages pursuant to FDCPA 1692k(a).

                               COUNT I, FDCPA VIOLATION

68.   The previous paragraphs are incorporated into this Count as if set forth in full.

69.   The act(s) and omission(s) of the Defendant and its representative(s),

       employee(s) and / or agent(s) violated the FDCPA, § 1692e preface, e(2)(A),

       e(8), e(10) and § 1692f preface.

70.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

      attorney's fees and costs.




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                              JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

Fed. R. Civ. Pro. 38.

                               DEMAND FOR RELIEF

WHEREFORE, the Plaintiff requests that the Court grant the following:

1.   A finding that the Defendant violated the FDCPA and/or an admission from the

     Defendant that it violated the FDCPA.

2.   Damages pursuant to 15 U.S.C. § 1692k(a).

3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

4.   Such other and further relief as the Court deems just and proper.

                                        Respectfully submitted,

                                        _s/ David M. Larson        __________
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